          Case 8:23-cr-00079-DOC Document 24 Filed 07/24/23 Page 1 of 1 Page ID #:76



                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                             CRIMINAL MINUTES – GENERAL



    Case No.       SA CR 23-00079-DOC                                                        Date    July 24, 2023


    Present: The Honorable          DAVID O. CARTER, UNITED STATES DISTRICT JUDGE
    Interpreter     n/a

           Karlen Dubon                           Sharon Seffens                               Jennifer Waier
                Deputy Clerk                        Court Reporter                            Assistant U.S. Attorney



        U.S.A. v. Defendant(s):        Present     Cust.   Bond             Attorneys for Defendants:        Present App. Ret.

    1) SARA JACQUELINE                   X                  X         Samuel Owen Cross, DFPD                     X       X
       KING


PROCEEDINGS:                   CHANGE OF PLEA


X        Defendant moves to change plea to the Information. The plea agreement is incorporated herein by
         reference.

X        Defendant enters new and different plea of GUILTY to Counts 1 and 2 of the Information.

X        Defendant sworn and the Court questions the defendant regarding plea of GUILTY and FINDS that a
         factual basis has been laid and Further FINDS the plea is knowledgeable and voluntarily made. The
         Court ORDERS the plea accepted and entered.

X        The Court refers the defendant to the Probation Office for investigation and preparation of the pre-
         sentence report and the matter is continued to January 8, 2024 at 1:30 PM for sentencing.

X        Other: The Court vacates the trial date of August 15, 2023.


X        Other: The defendant to remain on bond under the same terms and conditions as previously imposed.




                                                                                                    00        :         18
                                                                  Initials of Deputy Clerk     kdu
cc: USPPO


CR-11 (09/98)                                    CRIMINAL MINUTES - GENERAL                                             Page 1 of 1
